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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                           FORT MYERS DIVISION

STEVEN SEMANCIK,

       Plaintiff,

v.                                             Case No.: 2:22-cv-372-SPC-MRM

SF MARKETS, LLC,

       Defendant.
                                          /

                                        ORDER 1

       Before the Court is Defendant’s Consent Motion to Compel Arbitration

and Stay Case. (Doc. 11). The parties agree that the claims here should be

sent to arbitration proceedings under a mutual binding arbitration agreement.

The parties also agree to stay this case pending completion of arbitration.

Having considered the motion and record, and acknowledging that no party

opposes the relief sought, the Court grants the joint motion.

       Accordingly, it is now

       ORDERED:




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     1. Defendant’s Consent Motion to Compel Arbitration and Stay Case

        (Doc. 11) is GRANTED.

     2. This case is STAYED pending completion of arbitration.

     3. The parties are DIRECTED to jointly notify the Court when

        arbitration has ended and if the stay is due to be lifted within seven

        days of those proceedings ending.

     4. The parties are DIRECTED to file a joint report on the status of

        arbitration on or before September 22, 2022, and every ninety days

        after until the Court says otherwise.

     5. The Clerk is DIRECTED to add a stay flag to the file.

     DONE and ORDERED in Fort Myers, Florida on June 24, 2022.




Copies: All Parties of Record




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